             Case 2:14-cr-00197-RAJ              Document 388         Filed 07/11/16       Page 1 of 2




 1                                                                       The Honorable Richard A. Jones
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                               UNITED STATES DISTRICT COURT FOR THE
 7                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
 8
 9    UNITED STATES OF AMERICA,                                     No. CR14-0197RAJ
10                              Plaintiff                           ORDER GRANTING JOINT MOTION
11                        v.                                        TO CONDUCT DISCOVERY
                                                                    PURSUANT TO FEDERAL RULE
12    HECTOR HERNANDEZ-MORENO,                                      OF CRIMINAL PROCEDURE 32.2
                                                                    AND SETTING ANCILLARY HEARING
13                              Defendant,
14    and
15    NELLIE VALTIERRA a/k/a NELLIE
      HERNANDEZ,
16
                                Third Party
17                              Claimant/Petitioner.
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              THIS MATTER having come before the Court on the Motion of the United States
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     and Petitioner Nellie Valtierra a/k/a Nellie Hernandez requesting this Court for
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     authorization to conduct discovery, and to set an ancillary hearing date, and the Court
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     having considered the representations of counsel and the files and records herein, it is
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     hereby
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              ORDERED that, pursuant to Rule 32.2, Federal Rules of Criminal Procedure, and
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     Title 21, United States Code, Section 853(m), the United States and the petitioner may
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     conduct discovery, pursuant to the Federal Rules of Civil Procedure. Discovery will be
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     completed by November 18, 2016.
28
     Order to Conduct Discovery and Setting Ancillary Hearing - 1                       UNITED STATES ATTORNEY
                                                                                       700 STEWART STREET, SUITE 5220
     U.S. v. Hector Hernandez-Moreno, CR14-0197RAJ                                       SEATTLE, WASHINGTON 98101
                                                                                               (206) 553-7970
             Case 2:14-cr-00197-RAJ              Document 388            Filed 07/11/16       Page 2 of 2




 1           IT IS FURTHER ORDERED that an ancillary hearing is set for JANUARY 17,
 2 2017 at 9:00 a.m., to litigate the petition of Nellie Valtierra a/k/a Nellie Hernandez.
 3           DATED this 11th day of July, 2016.
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                                                                    A
 6                                                                  The Honorable Richard A. Jones
                                                                    United States District Judge
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     Order to Conduct Discovery and Setting Ancillary Hearing - 2                          UNITED STATES ATTORNEY
                                                                                          700 STEWART STREET, SUITE 5220
     U.S. v. Hector Hernandez-Moreno, CR14-0197RAJ                                          SEATTLE, WASHINGTON 98101
                                                                                                  (206) 553-7970
